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     7
                              UNITED STATES DISTRICT COURT
     8
                            CENTRAL DISTRICT OF CALIFORNIA
     9
                                        WESTERN DIVISION
    10
    11   ALEJANDRO RODRIGUEZ,                   )        Case No. CV 07-3239-TJH (RNBx)
         ABDIRIZAK ADEN FARAH, YUSSUF           )
    12   ABDIKADIR, ABEL PEREZ RUELAS,          )        JOINT STIPULATION FOR
         JOSE FARIAS CORNEJO, ANGEL             )        SCHEDULING ORDER
    13   ARMANDO AYALA, ALEX CACHO              )
         CASTILLO for themselves and on behalf  )        Honorable Terry J. Hatter, Jr.
    14   of a class of similarly-situated individuals,
                                                )
                                                )
    15              Petitioners,                )
                                                )
    16            v.                            )
                                                )
    17   WILLIAM BARR, United States Attorney )
         General; KEVIN MCALEENAN, Acting )
    18   Secretary, Homeland Security; JAMES    )
         MCHENRY, Director, Executive Office )
    19   for Immigration Review; DAVID MARIN, )
         Field Office Director, Los Angeles     )
    20   District, Immigration and Customs      )
         Enforcement; DON BARNES Sheriff of )
    21   Orange County; OFFICER NGUYEN,         )
         Officer-in-Charge, Theo Lacy Facility; )
    22   LUKE SOUTH, Commander, Theo Lacy )
         Facility; LISA VON NORDHEIM,           )
    23   Captain, James A. Musick Facility;     )
         TERRY NELSEN, Assistant Field Office )
    24   Director, Adelanto Detention Facility, )
                                                )
    25                 Respondents.             )
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     1         Pursuant to Federal Rule of Civil Procedure 16(b)(4), the Parties hereby
     2   request that the Court modify the scheduling order in this case. Good cause exists
     3   for this request.
     4         This Court granted the Parties’ joint stipulations to modify the scheduling
     5   order to afford the Parties time to complete discovery and explore settlement
     6   negotiations. See Dkts. 577, 573, 571. Since that time, the Parties have continued
     7   to make progress on narrowing their discovery disputes. The Parties have also
     8   continued to meet and confer a potential settlement, including the engagement of a
     9   mediator. The Parties agree that additional time is necessary to determine whether
    10   a settlement can be reached in the case.
    11         In light of these considerations, the Parties have met and conferred regarding
    12   an updated schedule and agree that modification of the current schedule is
    13   necessary, as follows:
    14
    15              Event                  Current Deadline          Proposed Deadline
          Expert Disclosures and       September 15, 2021         December 14, 2021
    16    Reports Deadline:
    17    Expert Rebuttal Reports      November 1, 2021           January 31, 2022
          Deadline:
    18    Fact and Expert Discovery    November 10, 2021          February 8, 2022
    19    Cut-Off
          Deadline for Plaintiffs to   December 22, 2021          March 22, 2022
    20    File Motion for Summary
    21    Judgment
          Deadline for Defendants      January 19, 2022           April 19, 2022
    22    to File Opposition to
    23    Motion for Summary
          Judgment and Cross-
    24    Motion for Summary
    25    Judgment
          Deadline for Plaintiffs to   February 10, 2022          May 11, 2022
    26    File Reply in Support of
    27    Motion for Summary
          Judgment and Response in
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     1   Opposition to Cross-
         Motion for Summary
     2   Judgment
     3   Deadline for Defendants     March 2, 2022           May 31, 2022
         to File Reply in Support of
     4   Cross-Motion for
     5   Summary Judgment
         Cross-Motions for           March 21, 2022          June 20, 2022
     6   Summary Judgment
     7   Noticed For:
     8
     9        It is so stipulated.

    10                                            Respectfully submitted,

    11
         Dated: September 8, 2021                 /s/ Michael Kaufman
    12                                            MICHAEL KAUFMAN
                                                  Counsel for Petitioners
    13
    14                                            /s/ Sarah Wilson (with permission)
                                                  SARAH WILSON
    15                                            Counsel for Respondents
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